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 1
                                                                                  FILED IN THE
 2                                                                            U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON



 3                                                                       Sep 01, 2021
                                                                             SEAN F. MCAVOY, CLERK

 4

 5                        UNITED STATES DISTRICT COURT

 6                     EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                        No. 1-21-CR-02032-SMJ-1

 8                      Plaintiff,                    ORDER FOLLOWING INITIAL
                                                      APPEARANCE AND
 9   vs.                                              ARRAIGNMENT AND SETTING
                                                      DETENTION HEARING
10   THOMAS ALEX MORRISON, JR.,
                                                      **USMS ACTION REQUIRED**
11                      Defendant.

12         On Wednesday, September 01, 2021, Defendant made an initial appearance

13   and was arraigned based on the Indictment (ECF No. 1). With his consent,

14   Defendant appeared by video and was represented by Assistant Federal Defender

15   Paul Shelton. Assistant United States Attorney Michael Murphy represented the

16   United States.

17         Defendant was advised of and acknowledged Defendant’s rights.

18         The Office of the Federal Defenders was appointed to represent Defendant.

19         Defendant pled not guilty.

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21   ORDER FOLLOWING INITIAL APPEARANCE AND ARRAIGNMENT AND
     SETTING DETENTION HEARING - 1
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 1         The Court directs the parties to review the Local Criminal Rules governing

 2   discovery and other issues in this case. http://www.waed.uscourts.gov/court-

 3   info/local-rules-and-orders/general-orders.

 4         Under federal law, including Rule 5(f) of the Federal Rules of Criminal

 5   Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions

 6   from the Supreme Court and the Ninth Circuit interpreting Brady, the United States

 7   has a continuing obligation to produce all information or evidence known to the

 8   United States relating to guilt or punishment that might reasonably be considered

 9   favorable to Defendant's case, even if the evidence is not admissible so long as it is

10   reasonably likely to lead to admissible evidence. See United States v. Price, 566

11   F.3d 900, 913 n.14 (9th Cir. 2009). Accordingly, the Court orders the United

12   States to produce to Defendant in a timely manner all such information or

13   evidence.

14         Information or evidence may be favorable to a defendant's case if it either

15   may help bolster the defendant's case or impeach a prosecutor's witness or other

16   government evidence. If doubt exists, it should be resolved in favor of Defendant

17   with full disclosure being made.

18         If the United States believes that a required disclosure would compromise

19   witness safety, victim rights, national security, a sensitive law-enforcement

20   technique, or any other substantial government interest, the United States may

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 1   apply to the Court for a modification of the requirements of this Disclosure Order,

 2   which may include in camera review and/or withholding or subjecting to a

 3   protective order all or part of the information.

 4         This Disclosure Order is entered under Rule 5(f) and does not relieve any

 5   party in this matter of any other discovery obligation. The consequences for

 6   violating either this Disclosure Order or the United States’ obligations under Brady

 7   include, but are not limited to, the following: contempt, sanction, referral to a

 8   disciplinary authority, adverse jury instruction, exclusion of evidence, and

 9   dismissal of charges. Nothing in this Disclosure Order enlarges or diminishes the

10   United States’ obligation to disclose information and evidence to a defendant under

11   Brady, as interpreted and applied under Supreme Court and Ninth Circuit

12   precedent. As the Supreme Court noted, “the government violates the

13   Constitution's Due Process Clause ‘if it withholds evidence that is favorable to the

14   defense and material to the defendant’s guilt or punishment.’” Turner v. United

15   States, 137 S. Ct. 1885, 1888 (2017) (quoting Smith v. Cain, 565 U.S. 73, 75

16   (2012)).

17         A detention hearing was scheduled for Thursday, September 02, 2021 at

18   1:30 PM in Yakima, Washington, before Judge Dimke appearing by video.

19   Pending the hearing, Defendant shall be detained in the custody of the United

20   States Marshal and produced for the hearing. The United States Probation/Pretrial

21   ORDER FOLLOWING INITIAL APPEARANCE AND ARRAIGNMENT AND
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 1   Services Office shall prepare a pretrial services report prior to the hearing and shall

 2   notify defense counsel prior to interviewing Defendant.

 3         DATED September 1, 2021.

 4                                s/Mary K. Dimke
                                  MARY K. DIMKE
 5                       UNITED STATES MAGISTRATE JUDGE

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21   ORDER FOLLOWING INITIAL APPEARANCE AND ARRAIGNMENT AND
     SETTING DETENTION HEARING - 4
